        Case 2:23-cv-02831-SVW-E Document 48 Filed 08/14/23 Page 1 of 2 Page ID #:1469
AO 121 (5HY6/)
TO:

                  5HJLVWHURI&RS\ULJKWV                                                                REPORT ON THE
                   86&RS\ULJKW2IILFH                                                        FILING OR DETERMINATION OF AN
                ,QGHSHQGHQFH$YH6(                                                             ACTION OR APPEAL
                :DVKLQJWRQ'&                                                        REGARDING A COPYRIGHT



     In compliance with the provisions of 17 U.S.C. 508, you are hereby advised that a court action or appeal has been filed
on the following copyright(s):
                                                                         COURT NAME AND LOCATION
        ✔ ACTION
        G                      G APPEAL                                   United States District Court, Central District of California, Western
DOCKET NO.                          DATE FILED                            Division, Edward R. Roybal Federal Building & U.S. Courthouse
    2:23-cv-02831-SVW-Ex                                                  255 East Temple Street, Los Angeles, CA 90012
                                       04/14/2023
PLAINTIFF                                                                             DEFENDANT
DEMETRIOUS POLYCHRON, an Individual                                                   -())%(=26DQ,QGLYLGXDO-(11,)(56$/.($Q,QGLYLGXDO6,021
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                                                                                      /,0,7('7+(72/.,(175867DQG'2(6

        COPYRIGHT
                                                                TITLE OF WORK                                                 AUTHOR OR WORK
     REGISTRATION NO.

1 TXu 2-076-068                      The Fellowship of the King                                                     Demetrious Polychron (Author)

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      In the above-entitled case, the following copyright(s) have been included:
DATE INCLUDED                       INCLUDED BY
                                             G Amendment                 G Answer               G Cross Bill               G
                                                                                                                           ✔ Other Pleading
        COPYRIGHT
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1 TXu 2-076-068                      The Fellowship of the King                                                     Demetrious Polychron (Author)
                                    7KH/RUGRIWKH5LQJV7KH5LQJRI3RZHU$6KDGRZRIWKH3DVW           $PD]RQ&RQWHQW6HUYLFHV//&
2 PA0002384079

3 PA0002385184                       7KH/RUGRIWKH5LQJV7KH5LQJRI3RZHU$'5,)7
                                                                   .                                                 $PD]RQ&RQWHQW6HUYLFHV//&


    In the above-entitled case, a final decision was rendered on the date entered below. A copy of the order or judgment
together with the written opinion, if any, of the court is attached.
COPY ATTACHED                                                    WRITTEN OPINION ATTACHED                                        DATE RENDERED

            Gx Order           G Judgment                                   G Yes           G
                                                                                            x No                                      08/14/2023

CLERK                                                            (BY) DEPUTY CLERK                                               DATE

          Kiry K. Gray                                                            A. Bandek                                           08/14/2023
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 Attachment to Form AO-12

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